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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


          In re:                                                                       Chapter 11

          DAVID’S BRIDAL, INC., et al.,1                                               Case No. 18-12635 (LSS)

                                               Debtors.                                Jointly Administered


                      NOTICE OF AMENDED2 AGENDA OF MATTERS SCHEDULED FOR
                           HEARING ON DECEMBER 18, 2018 AT 2:00 P.M. (ET)

          UNCONTESTED MATTERS – CERTIFICATIONS FILED

          1.        Debtors’ Motion for Entry of Interim and Final Orders (A) Prohibiting Utilities from
                    Altering, Refusing or Discontinuing Service, (B) Deeming Utilities Adequately Assured
                    of Future Performance, (C) Establishing Procedures for Determining Adequate Assurance
                    of Payment, (D) Authorizing the Payment of Prepetition Administrative Fees Relating to
                    Utility Services, and (E) Granting Related Relief [D.I. 4, 11/19/18]

                    Response Deadline:                                   December 11, 2018 at 4:00 p.m. (ET)

                    Responses Received:                                  None

                    Related Documents:

                        A.       Interim Order [D.I. 88, 11/20/18]

                        B.       Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 107,
                                 11/21/18]

                        C.       Notice of Filing of Supplement to Utility Service List [D.I. 166, 12/11/18]

                        D.       Certification of Counsel [D.I. 172, 12/14/18]

                        E.       Proposed Order



          1
                The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
                are: David’s Bridal, Inc. (4563); DB Investors, Inc. (8503); DB Holdco, Inc. (4567); and DB Midco, Inc.
                (3096). The location of the Debtors’ corporate headquarters is 1001 Washington Street, Conshohocken,
                Pennsylvania 19428.

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                Amended items appear in bold and italics.

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                Status:    A revised proposed final order has been submitted under certification of
                           counsel. Unless the Court has questions, no hearing is required.

         2.     Debtors’ Motion for Entry of an Order (A) Authorizing the Debtors to Pay and Honor
                Certain Prepetition Wages, Benefits and Other Obligations, (B) Authorizing Financial
                Institutions to Honor and Process Checks and Transfers Related to Such Obligations, and
                (C) Granting Related Relief [D.I. 7, 11/19/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:                          None

                Related Documents:

                   A.      Order (A) Authorizing the Debtors to Pay and Honor Certain Prepetition
                           Wages, Benefits and Other Obligations, (B) Authorizing Financial Institutions
                           to Honor and Process Checks and Transfers Related to Such Obligations, and
                           (C) Granting Related Relief [D.I. 91, 11/20/18]

                   B.      Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 107,
                           11/21/18]

                   C.      Certification of Counsel [D.I. 173, 12/14/18]

                   D.      Proposed Order

                Status:    An order with respect to the relief in the Motion, other than the Severance
                           Obligations, has been entered. A supplemental order with respect to the
                           Severance Obligations has been filed under certification of counsel. Unless
                           the Court has questions, no hearing is required.

         3.     Debtors’ Motion for Entry of Interim and Final Orders (A) Authorizing the Debtors to
                (I) Continue Using Their Existing Cash Management System, Including Bank Accounts,
                and Honor Related Prepetition Fees and Expenses, and (II) Maintain Their Existing
                Check Stock, (B) Authorizing Continued Intercompany Transactions and Granting
                Postpetition Intercompany Claims Administrative Priority Status and (C) Granting an
                Interim Waiver of the Investment and Deposit Requirements of Section 345(b) of the
                Bankruptcy Code [D.I. 9, 11/19/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:

                   A.      Informal comments
                           i. Office of the United States Trustee
                           ii. JPMorgan Chase
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                Related Documents:

                   B.      Interim Order [D.I. 93, 11/20/18]

                   C.      Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 107,
                           11/21/18]

                   D.      Certification of Counsel [D.I. 174, 12/14/18]

                   E.      Proposed Order

                Status:    A revised proposed final order has been submitted under certification of
                           counsel. Unless the Court has questions, no hearing is required.

         4.     Debtors’ Motion for Entry of Interim and Final Orders (a) Authorizing the Debtors to Pay
                all Prepetition Trade and Other Unimpaired Claims in the Ordinary Course of Business,
                (b) Confirming Administrative Expense Priority of Undisputed and Outstanding
                Prepetition Orders and (c) Authorizing Financial Institutions to Honor and Process
                Checks and Transfers Related to Such Obligations [D.I. 10, 11/19/18]

                Response Deadline:                             December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:                            None

                Related Documents:

                   A.      Interim Order [D.I. 94, 11/20/18]

                   B.      Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 107,
                           11/21/18]

                   C.      Certification of Counsel [D.I. 175, 12/14/18]

                   D.      Proposed Order

                Status:    A revised proposed final order has been submitted under certification of
                           counsel. Unless the Court has questions, no hearing is required.




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         5.     Debtors’ Application for Entry of an Order Authorizing the Debtors to Retain and
                Employ Donlin, Recano & Company, Inc. as Administrative Advisor Effective Nunc Pro
                Tunc to the Petition Date [D.I. 127, 11/29/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:

                   A.      Informal comments from the Office of the United States Trustee

                Related Documents:

                   B.      Certification of Counsel [D.I. 176, 12/14/18]

                   C.      Proposed Order

                Status:    A revised proposed order has been submitted under certification of counsel.
                           Unless the Court has questions, no hearing is required.

         6.     Debtors’ Application for Entry of an Order (A) Authorizing the Debtors to Retain and
                Employ KPMG LLP as Independent Auditor Effective Nunc Pro Tunc to the Petition
                Date, and (B) Waiving Certain Information Requirements of Local Rule 2016-2 [D.I.
                130, 11/29/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:                          None

                Related Documents:

                   A.      Certificate of No Objection [D.I. 177, 12/14/18]

                   B.      Proposed Order

                Status:    No objections have been received, and a Certificate of No Objection has been
                           filed. Unless the Court has questions, no hearing is required.




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         7.     Debtors’ Motion for Entry of an Order Authorizing the Debtors to Retain and
                Compensate Professionals Utilized in the Ordinary Course of Business, Effective Nunc
                Pro Tunc to the Petition Date [D.I. 131, 11/29/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:

                   A.      Informal comments from the Office of the United States Trustee

                Related Documents:

                   B.      Certification of Counsel [D.I. 178, 12/14/18]

                   C.      Proposed Order

                Status:    A revised proposed order has been submitted under certification of counsel.
                           Unless the Court has questions, no hearing is required.

         8.     Debtors’ Application for an Order Authorizing them to Retain and Employ AlixPartners,
                LLP as Financial Advisor Effective Nunc Pro Tunc to the Petition Date [D.I. 132,
                11/29/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:

                   A.      Informal comments from the Office of the United States Trustee

                Related Documents:

                   B.      Certification of Counsel [D.I. 179, 12/14/18]

                   C.      Proposed Order

                Status:    A revised proposed order has been submitted under certification of counsel.
                           Unless the Court has questions, no hearing is required.




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         9.     Debtors’ Application for an Order Authorizing the Retention and Employment of Young
                Conaway Stargatt & Taylor, LLP as Co-Counsel for the Debtors, Effective As of the
                Petition Date [D.I. 133, 11/29/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:

                   A.      Informal comments from the Office of the United States Trustee

                Related Documents:

                   B.      Omnibus Declaration of Joan Hilson in Support of the Applications of the
                           Debtors to Employ and Retain Debevoise & Plimpton LLP and Young
                           Conaway Stargatt & Taylor, LLP Pursuant to Section 327(a) of the
                           Bankruptcy Code, Nunc Pro Tunc to the Petition Date [D.I. 135, 11/29/18]

                   C.      Certification of Counsel [D.I. 180, 12/14/18]

                   D.      Proposed Order

                Status:    A revised proposed order has been submitted under certification of counsel.
                           Unless the Court has questions, no hearing is required.

         10.    Debtors’ Application Entry of an Order Authorizing the Employment and Retention of
                Debevoise & Plimpton LLP as Attorneys for the Debtors Nunc Pro Tunc to the Petition
                Date [D.I. 134, 11/29/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:

                   A.      Informal comments from the Office of the United States Trustee

                Related Documents:

                   B.      Omnibus Declaration of Joan Hilson in Support of the Applications of the
                           Debtors to Employ and Retain Debevoise & Plimpton LLP and Young
                           Conaway Stargatt & Taylor, LLP Pursuant to Section 327(a) of the
                           Bankruptcy Code, Nunc Pro Tunc to the Petition Date [D.I. 135, 11/29/18]

                   C.      Supplemental Declaration [D.I. 170, 12/13/18]

                   D.      Certification of Counsel [D.I. 182, 12/14/18]


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                   E.      Proposed Order

                Status:    A revised proposed order has been submitted under certification of counsel.
                           Unless the Court has questions, no hearing is required.

         UNCONTESTED MATTER GOING FORWARD

         11.    Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to
                Obtain Postpetition Financing, (II) Authorizing the Debtors to Use Cash Collateral,
                (III) Granting Liens and Providing Superpriority Administrative Expense Status,
                (IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying Automatic
                Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Sealed: D.I.
                16, 11/19/18; Redacted: D.I. 17, 11/19/18]

                Response Deadline:                           December 11, 2018 at 4:00 p.m. (ET)

                Responses Received:

                   A.      Informal comments
                           i. Comenity Bank
                           ii. Various landlords

                   B.      Objection of Brazos County, Denton County, Waco City et al., and Taylor
                           County Central Appraisal District [D.I. 116, 11/27/18]
                           i.     Notice of Withdrawal [D.I. 159, 12/7/18]

                Related Documents:

                   C.      Declaration of Joan Hilson, Executive Vice President and Chief Financial and
                           Operating Officer of the Debtors, in Support of Chapter 11 Petitions and First
                           Day Pleadings [D.I. 19, 11/19/18]

                   D.      Declaration of Stephen Goldstein in Support for Debtors’ Motion for Entry of
                           Interim and Final Orders (I) Authorizing the Debtors to Obtain Postpetition
                           Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting
                           Liens and Providing Superpriority Administrative Expense Status,
                           (IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying
                           Automatic Stay, (VI) Scheduling A Final Hearing, and (VII) Granting Related
                           Relief [D.I. 18, 11/19/18]

                   E.      Interim Order [D.I. 102, 11/20/18]

                   F.      Omnibus Notice of First Day Pleadings and Final Hearing Thereon [D.I. 107,
                           11/21/18]


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                   G.      Notice of Filing of Proposed Final DIP Order [D.I. 188, 12/14/18]

                Status:    Items A and B have been resolved. This matter is going forward.

         CONTESTED MATTER GOING FORWARD

         12.    Debtors’ Application for Entry of an Order Authorizing the Debtors to Employ and
                Retain Evercore Group L.L.C. as Investment Banker Effective Nunc Pro Tunc to the
                Petition Date [D.I. 128, 11/29/18]

                Response Deadline:                          December 11, 2018 at 4:00 p.m. (ET)
                                                            [Extended for various creditors until 11:00
                                                            a.m. (ET) on December 14, 2018]

                Responses Received:

                   A.      Informal comments from the Office of the United States Trustee

                   B.      Limited Objection of Various Creditors (Oaktree Capital Management,
                           Courage Capital Management, AlbaCore Capital LLP, and Deutsche Bank
                           AG Cayman Islands Branch) [D.I. 181, 12/14/18]

                   C.      Declaration of Martin Lewis in Support of Limited Objection by Various
                           Creditors to Debtors’ Application to Retain Evercore Group L.L.C. as
                           Investment Banker [D.I. 198, 12/15/18]

                Related Documents:

                   D.      Debtors’ Motion for an Order Granting the Debtors Leave and Permission
                           to File the Debtors’ Reply to Limited Objection to Debtors’ Application to
                           Retain Evercore Group L.L.C. as Investment Banker [D.I. 200, 12/17/18]

                   E.      Motion for Leave to File Late Reply of Evercore Group L.L.C. in Support of
                           Debtors’ Application for Entry of an Order Authorizing the Debtors to
                           Employ and Retain Evercore Group L.L.C. as Investment Banker Effective
                           Nunc Pro Tunc to the Petition Date [D.I. 201, 12/17/18]




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                     F.      Supplemental Declaration of Stephen Goldstein in Support of the Debtors’
                             Application for an Order Authorizing the Debtors to Employ and Retain
                             Evercore Group L.L.C. as Investment Banker Effective Nunc Pro Tunc to
                             the Petition Date [D.I. 202, 12/17/18]

                  Status:    The Debtors have revised the proposed order to address the comments
                             received from the Office of the United States Trustee. The Debtors and
                             Evercore have sought leave to file a reply in support of the Application and
                             in response to Item B. Item B requests an adjournment of the matter until
                             January 4, 2019. The Debtors and Evercore object to the requested
                             adjournment. This matter is going forward.

         Dated:     December 17, 2018            /s/ Jaime Luton Chapman
                    Wilmington, Delaware         YOUNG CONAWAY STARGATT & TAYLOR, LLP
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                                                 Edmon L. Morton (No. 3856)
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                                                 -and-

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                                                 -and-



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                                     Proposed Co-Counsel for the Debtors and Debtors in
                                     Possession




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